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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA
                                                              AMENDED
                - v. -                                        CONSENT PRELIMINARY
                                                              ORDER OF FORFEITURE/
FABIO BRETAS DEFREITAS,                                       MONEY JUDGMENT

                         Defendant.                           S3 19 Cr. 257 (LTS)

------------------------------------                    x
               WHEREAS, on or about August 8, 2019, FABIO BRETAS DE FREITAS (the

"Defendant") was charged in a one-count Superseding Information, S3 19 Cr. 257 (LTS) (the

"Information") with conspiracy to commit wire fraud and commodities fraud, in violation of Title

18, United States Code, Section 1349 (Count One);

               WHEREAS, the Information included a forfeiture allegation as to Count One,

seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section

981(a)(l)(C) and Title 28, United States Code, Section 2461(c), of any and all property, real and

personal, that constitutes or is derived from proceeds traceable to the commission of the offense

charged in Count One of the Information, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to the commission of the offense

charged in Count One of the Information;

               WHEREAS, on or about August 8, 2019, the Defendant pled guilty to Count One

of the Information, pursuant to a plea agreement with the Government, wherein the Defendant

admitted the forfeiture allegation with respect to Count One of the Information and agreed to forfeit

to the United States, pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28,

United States Code, Section 246l(c), a sum of money equal to $5,393,100.00 in United States
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currency, representing proceeds traceable to the commission of the offense charged in Count One

of the Information;

                WHEREAS, on or about August 8, 2019, the Defendant consented to, and the Court

ordered, the entry of a money judgment in the amount of $5,393, 100.00 in United States currency,

representing proceeds traceable to the commission of the offense charged in Count One of the

Information (the "Money Judgment");

                WHEREAS, on or about February 24, 2019, the Government requested that the

Court amended the Money Judgment to be in the amount of $5,332,100.00 in United States

currency;

                WHEREAS, the Defendant consents to the entry of an amended money judgment

in the amount of $5,332, 100.00 in United States curr.ency, representing proceeds traceable to the

commission of the offense charged in Count One of the Information; and

                WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count One of the Information cannot

be located upon the exercise of due diligence;

                IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Geoffrey S. Berman, United States Attorney, Assistant United States

Attorneys Benet J. Kearney and Andrew C. Adams of counsel, and the Defendant, and his counsel,

Anthony Strazza, Esq., that:

                1.     As a result of the offense charged in Count One of the Information, to which

the Defendant pled guilty, a money judgment in the amount of $5,332,100.00 in United States

currency (the "Amended Money Judgment"), representing the proceeds traceable to the offense

charged in Count One of the Information, shall be entered against the Defendant.
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                2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Amended Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant,

FABIO BRETAS DE FREITAS, and shall be deemed part of the sentence of the Defendant, and

shall be included in the judgment of conviction therewith.

                3.      All payments on the outstanding Amended Money Judgment shall be made

by postal money order, bank or certified check, made payable to the "United States Marshals

Service" and delivered by mail to the United States Attorney's Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew's

Plaza, New York, New York 10007 and shall indicate the Defendant's name and case number.

                4.      The United States Marshals Service is authorized to deposit the payments

on the Amended Money Judgment in the Asset Forfeiture Fund, and the United States shall have

clear title to such forfeited property.

                5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Amended Money Judgment.

                6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure,

upon entry of this Amended Consent Preliminary Order of Forfeiture/Money Judgment, the United

States Attorney's Office is authorized to conduct any discovery needed to identify, locate or

dispose of forfeitable property, including depositions, interrogatories, requests for production of

documents and the issuance of subpoenas.

               7.       This Court shall retain jurisdiction to enforce this Amended Consent

Preliminary Order of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule

32.2(e) of the Federal Rules of Criminal Procedure.
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               8.     The Clerk of the Court shall forward three certified copies of this Amended

Consent Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney

Alexander J. Wilson, Co-Chief, Money Laundering and Transnational Criminal Enterprises Unit,

United States Attorney's Office, One St. Andrew's Plaza, New York, New York 10007.

               9.     The signature page of this Amended Consent Preliminary Order of

Forfeiture/Money Judgment may be executed in one or more counterparts, each of which will be

deemed an original but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

GEOFFREY S. BERMAN
United States Attorney for the
Southern District ofNew York


By:
       Benet J. Kearney
       Assistant United States Atto
       One St. Andrew's Plaza
       New York, NY 10007
       (212) 637-2260/2340
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FABIO BRETAS DE FREITAS


By:
      FABIO B        S DE     I AS


By:   Antho~----~----­
      Attomey for Defendant
      Law Offices of Anthony Strazza
      245 Main Street, Suite 410
      White Plains, NY 10601


SO ORDERED:



HONO~AYLORSWAIN
UNITED STATES DISTRICT JUDGE
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                                                    DATE
